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Attorneys for S&S IP Holdings Limited


                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
In re:                                                         Chapter 11

BRANDED APPAREL GROUP LLC,                                       Case No. 20-12552 (SCC)

                                    Debtor.
-------------------------------------------------------------x

                            NOTICE OF APPEARANCE AND REQUEST
                                  FOR SERVICE OF PAPERS

        PLEASE TAKE NOTICE that, pursuant to the Bankruptcy Code, Jaffe & Asher LLP,

hereby appears on behalf of creditor, S&S IP Holdings Limited (“S&S”).

        PLEASE TAKE FURTHER NOTICE that S&S hereby requests pursuant to Rules

2002, 9007, and 9010 of the Federal Rules of Bankruptcy Procedure, and §1109(b) of the

Bankruptcy Code, that notice of any action taken or any motions filed by any other party-in-

interest, including the Debtor, be sent to its undersigned counsel at the address set forth below:

                                   JAFFE & ASHER LLP
                                   445 Hamilton Avenue, Suite 405
                                   White Plains, New York 10601
                                   Attn: Glenn P. Berger, Esq.
                                   Telephone: (212) 687-3000
                                   Facsimile: (914) 437-8076
                                   gberger@jaffeandasher.com

        The foregoing request includes not only the notices and papers referred to in the Rules of

Bankruptcy Procedure specified above, but also includes, without limitation, notices of any

orders, pleadings, motions, applications, complaints, demands, proposed sales, auction sales,
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settlements and compromises, hearings, answering or reply papers, memoranda or briefs in

support of the foregoing, whether formal or informal, whether written or oral and transmitted or

conveyed in any manner, including notices required by Subdivision (a)(2), (3) and (7) of

Bankruptcy Rule 2002, and any other documents brought in this Court with respect to these

proceedings.

Dated:                        White Plains, New York
                              October 30, 2020
                                                                                         JAFFE & ASHER LLP
                                                                                         Attorneys for S&S IP Holdings Limited


                                                                                         By: _/s/ Glenn P. Berger______________
                                                                                                 Glenn P. Berger
                                                                                         445 Hamilton Avenue, Suite 405
                                                                                         White Plains, NY 10601
                                                                                         (212) 687-3000




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